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uNiTEo sTATEs oF AMERICA ‘=$‘”?-LS':H§?'~` ii*`§l iiist
P|aintiff
vs.
cR. No. 04-20480-o
DERRch cRuMPToN
Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on April 19, 2005. At that time, counsel for the
defendant requested a continuance of the l\/lay 2, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to Ju|y 5, 2005 with a Epo_rt
date ofThursdav, June 30, 2005. at 9:00 a.m., in Courtroom 3, 9th F|oor of the Federa|
Bui|ding, l\/lemphis, TN.

The period from |Vlay 13, 2005 through Ju|y15, 2005 is excludable under 18 U.S.C.
§ 3161(h)(8)(B)(iv) because the ends ofjustice served in allowing for additional time to
prepare outweigh the need for a speedy tria|.

|T |S SO ORDERED this G day of Apri|, 2005.

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Notice of Distribution

This notice confirms a copy of the document docketed as number 23 in
case 2:04-CR-20480 Was distributed by faX, mail, or direct printing on
April 27, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

